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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

               v.                                     C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


            DECLARATION AND CERTIFICATE OF AMANDA TESSAR, ESQ.

       I, Amanda Tessar, being duly sworn, depose and say:

       1.      I am a partner in the law firm of Perkins Coie LLP, which is located at 1900

Sixteenth Street, Suite 1400, Denver, Colorado 80202-5255, and have practiced law since 2001.

       2.      I am admitted to practice law in Colorado and am a member in good standing of

the bar of the State of Colorado, as well as the U.S. Patent and Trademark Office, the U.S.

District Court for the District of Colorado, the U.S. Court of Appeals for the Federal Circuit, and

the U.S. District Court for the Eastern District of Texas.

       3.      I have not previously had a pro hac vice admission to this court (or other

admission for a limited purpose under Local Rule 83.5) revoked for misconduct, and there are no

disciplinary proceedings pending against me in any jurisdiction.

       4.      I have not been disciplined or denied admission by this Court or any other court.

       5.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.
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       I declare under penalty of perjury that the foregoing is true and correct this 7th day of

June, 2018.

                                              /s/ Amanda Tessar ____________
                                              Amanda Tessar



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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